THE FOLLOWING ORDER
IS APPROVED AND ENTERED
AS THE ORDER OF THIS COURT:

DATED: July 17, 2019
                                                   Katherine Maloney Perhach
                                                   United States Bankruptcy Judge


                     UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF WISCONSIN
_____________________________________________________________________________

In Re:    FRANCES WADE,                                        Chapter 13

            Debtor.                             Case No. 19-26479-KMP
______________________________________________________________________________

      ORDER EXTENDING DEADLINE TO FILE REQUIRED DOCUMENTS
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         Upon consideration of the Debtor's Motion to Extend Time, which requested an extension
until July 22, 2019, to file Chapter 13 Plan, Completed Schedules (A/B-J and Declaration),
Summary of Assets and Liabilities, Statement of Financial Affairs, Form 11A-1 Current Monthly
Income, Form 122A-2 Means Test Calculation (if applicable) and Local Form 1007 Payment
Advice Cover Sheet (with attached pay stubs if appropriate),


         IT IS HEREBY ORDERED: due to the Chapter 13 Trustee's pending Objection to the
Motion to Continue Stay, which is scheduled for hearing on July 23, 2019, the deadline to file
Chapter 13 Plan, Completed Schedules (A/B-J and Declaration), Summary of Assets and
Liabilities, Statement of Financial Affairs, Form 11A-1 Current Monthly Income, Form 122A-2
Means Test Calculation (if applicable) and Local Form 1007 Payment Advice Cover Sheet (with
attached pay stubs if appropriate) is extended to July 19, 2019.


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